Case 7:24-cr-00555-CS Document3_ Filed 09/24/24 Pagelofi1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA SEALED UNSEALING ORDER

Vv.
24Cr.555(__?)
STEWART ROSENWASSER, and
MOUT’Z SOUDANI,

a/k/a “Marty,”

a/k/a “Martin,”

a/k/a “Senior,”

Defendants.

Upon application of the United States of America, by and through Assistant United States
Attorney Jared Hoffman, it is hereby ORDERED that Indictment 24 Cr. 555 (__), which was
filed under seal on September 23, 2024, be unsealed.

SO ORDERED.

Dated: White Plains, New York
September 24, 2024

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nat bY) Cn
THE HONORABLE JUDITH €C. McCARTHY

UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK

